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Exhibit D

Exhibit D

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PRIVATE

LEVEL I GRIEVANCE
STAFF RESPONSE
DIO

GRIEVANCE NUMBER: _ 990914677
INMATE NAME: NAVES, RANDY THOMAS OFFENDER NUMBER: #125823

E) N. Koch, Property Manager

a ak

NATURE OF GRIEVANCE:

The inmate claims that his religious materials were taken from the move, from, Draper to Salt
Lake City. The book is a Wiccan book called the Book of Shadows & Wicca a Guide for the
Solitary Practitioner. Inmate Naves stated that the books has either his USP # 26930 or his

Offender # 125823 on the books.

REMEDY SOUGHT:

The inmate states he wants his books returned.

RESEARCH OF GRIEVANCE:

Used: O-track, FD14, UDOCA, Inventory # 16086, Disposition # 306178.

CONCLUSIONS:

Inmate Naves wants his religious books back as it was his USP # listed on some of the books that
was over looked as another inmate’s #.

ACKNOWLEDGED:

Your grievance has been acknowledged and is approved for 1 book as it is a real book and uses
Inmate Naves USP # 26930. The other “book” is a homemade item that has papers in it, that has
writing on it from Inmate Naves and is held together by string. You will need to send those items

out, have someone pick it up or donate it.

STAFF SIGNATURE: [a KEL. DATE: g {2B EC.

REVISED 011415

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PRIVATE

LEVEL I GRIEVANCE
INMATE INTERVIEW
DIO

GRIEVANCE NUMBER: 990914677

INMATE NAME: NAVES, RANDY THOMAS = OFFENDER NUMBER: #125823

DATE INMATE INTERVIEWED: & ZO 20

COMMENTS BY INMATE AFTER REVIEWING ATTACHED STAFF RESPONSE FORM:

aot

This grievance has been resolved: Yes (S¥ (inmate circle appropriate response)

INMATE SIGNATURE: KE. DATE: G Do : Zo
STAFF SIGNATURE: [jw (. AN DATE: % FO2Ee

I have reviewed the informal document and agree that everything has been done at this level to
resolve the grievance.

STAFF SUPERVISOR’ S,SIGNATUREE JbnaecBe (ileor—

DATE: KI 24 [22.
/ /

DEPUTY WARDEN/DESIGNEE
DATE: G-6- Ze

REVISED 011415

